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                                     5032




                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 303

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
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                                                   5033
                                        Wednesday, September 26, 2018


                             By the way                                                                      AI
                             Sep 26, 2018, 4:15 PM: Alexander Ionov




                             It's our anniversary in October                                                 AI
                             Sep 26, 2018, 4:15 PM: Alexander Ionov




                             Five years                                                                      AI
                             Sep 26, 2018, 4:15 PM: Alexander Ionov




                             of being in business                                                            AI
                             Sep 26, 2018, 4:15 PM: Alexander Ionov




                             [Emoji(s)]                                                                      AI
                             Sep 26, 2018, 4:15 PM: Alexander Ionov




AS    Cool! We have to celebrate!
      Sep 26, 2018, 4:16 PM: Aleksei Sukhodolov




                             Yes!                                                                            AI
                             Sep 26, 2018, 4:16 PM: Alexander Ionov


                                                  Friday, April 19, 2019


                             Media/79774917332@s.whatsapp.net/d/1/d134f90b-cf70-423c-8204-
                             7f74ccfccc9e.thumb




                                                                                                             AI




                             https://politexpert.net/149058-ionov-prokommentiroval-davlenie-na-
                             Apr 19, 2019, 12:33 PM: Alexander Ionov
                             (Message continues)
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                              serbiyu-so-storony-zapada [https://politexpert.net/149058-ionov-
                              commented on-pressure- on-Serbia-from-the West]                                 AI




                              Apr 19, 2019, 12:33 PM: Alexander Ionov




AS    45…
      Apr 19, 2019, 4:49 PM: Aleksei Sukhodolov




                              What is 45                                                                      AI
                              Apr 19, 2019, 4:49 PM: Alexander Ionov




AS    Years old. The woman is as fresh as a berry again.
      Apr 19, 2019, 4:49 PM: Aleksei Sukhodolov
